     Case 1:20-cv-00260-RSK ECF No. 22, PageID.851 Filed 09/23/21 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION




YANA BROWER,

               Plaintiff,

v.                                                          Case No. 1:20-cv-260
                                                            Hon. Ray Kent

COMMISSIONER OF SOCIAL
SECURITY,

            Defendant.
__________________________________/

                                         JUDGMENT

               In accordance with the Opinion filed this date:

               The decision of the Commissioner is REVERSED pursuant to sentence four of 42

U.S.C. § 405(g), and the case is REMANDED to the Commissioner for further proceedings as

outlined in the Opinion.

               IT IS SO ORDERED.



Dated: September 23, 2021                           /s/ Ray Kent
                                                    United States Magistrate Judge
